
		
				IN RE AMENDMENTS TO RULES 4, 5, 7, 9, 10 OF STATE BD. OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS2022 OK 19Decided: 02/28/2022As Corrected: 3/2/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 19, __ P.3d __

				

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ORDER



Rules 4, 5, 7, 9 and 10 of the State Board of Examiners of Certified Shorthand Reporters, 20 O.S. 2011, ch. 20, app. 1, are hereby amended as shown on the attached Exhibit "A." The amended rules shall be effective March 4, 2022.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 28TH DAY OF FEBRUARY, 2022.


/s/CHIEF JUSTICE



Darby, C.J., Kauger, Winchester, Edmondson, Combs, Gurich, Rowe and Kuehn, JJ., concur;

Kane, V.C.J., concurs in part; dissents in part.



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Rules of the State Board of Examiners of Certified Shorthand Reporters
Chapter 20, App. 1


Rule 4 - Test Requirements

A. The examination for enrollment as a certified shorthand reporter shall consist of the following set forth in (1), (2) and (3):

1) Testimony and Proceedings ("Q&amp;A") Skills Examination--

(a) Two tests will be administered using a two-voice question-and-answer dictation of testimony at two hundred (200) words per minute for five (5) minutes. Speaker designations such as "Q" and "A" will not be read nor counted as words, but must be appropriately indicated in the transcript.

(b) Ninety (90) minutes will be given for the transcription of the Q&amp;A dictation. The candidate will choose which test to transcribe in which order. The candidate may choose to transcribe and submit one or two of the Q&amp;A tests for grading.

2) Jury Charge Materials Skills Examination -- Two tests will be administered using a five-minute dictation of jury charge material at one hundred eighty (180) words per minute. Ninety (90) minutes will be given for the transcription of the jury charge dictation. The candidate will choose which test to transcribe in which order. The candidate may choose to transcribe and submit one or two jury charge tests for grading.

3) The Oklahoma Written Knowledge Test -- A written knowledge test of not less than twenty-five (25) multiple choice questions relating to the Oklahoma law and court rules, duties of certified shorthand reporters, and general court procedure. This section of the examination will be administered in forty-five (45) minutes. Candidates will be provided with the study aids from which the test questions will be taken. The written knowledge test may be administered together with or separately from the skills examination. There is no annual limitation on the number of times the written knowledge test may be administered.

B. Candidates will be allowed in the testing room one hour before the skills examinations begin to set up and practice. The jury charge skills examination will begin with a one-minute jury charge warmup dictated at 180 words per minute, followed by two five-minute jury charge tests dictated at 180 words per minute, followed by transcription time. Candidates will be allowed in the testing room twenty-minutes before the Q&amp;A skills examination begins to prepare and practice. The Q&amp;A skills examination will begin with a one-minute Q&amp;A warmup dictated at 200 words per minute, followed by two five-minute Q&amp;A tests dictated at 200 words per minute, followed by transcription time.

C. Candidates may take one or both of the skills examinations at any regularly scheduled examination. A candidate who has successfully completed either of the skills examinations may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

D. Candidates may take the Oklahoma Written Knowledge Test at any regularly scheduled examination. A candidate who has successfully completed the Oklahoma Written Knowledge portion of the examination may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

E. Reciprocity for Skills Examinations.

1) A candidate who provides proof of passing the Registered Professional Reporter (RPR) Examination of the National Court Reporters Association, the Registered Skilled Reporter (RSR) Examination of the National Court Reporters Association, or an equivalent test as authorized by the Supreme Court, is eligible for enrollment without taking the skills examinations described in paragraphs A.(1) and A.(2) of this Rule.

2) A candidate who has successfully passed the jury charge skills examination portion or the testimony/Q&amp;A skills examination portion of the RPR or the RSR within the past twenty-four (24) months may apply to the Board for recognition of the exam. The candidate must prove to the satisfaction of the Board that the speed and passing score for the skills examination are substantially comparable to the speed and passing score required by these Rules. Upon approval by the Board, a candidate may retain the credit for that skills examination for two (2) years from the date passed for enrollment as an Oklahoma CSR.

3) The candidate must, prior to certification, pass the Oklahoma Written Knowledge portion of the examination, and meet all other applicable eligibility requirements.

Rule 5. Transcripts - Supplies. 

a. Each candidate shall furnish all supplies and equipment necessary to take and transcribe the test with the exception of transcription paper. Prior to each examination the Board will advise candidates of the permitted computer and/or word processing equipment that may be used to transcribe the examination. 

b. A dictionary/electronic spell checker is permitted to be used in transcribing the test but must be furnished by the candidate.

c. The CSR Board will provide each candidate with an external USB storage device (thumb drive, flash drive, or similar device) to submit all tests. For each skills examination, once transcription is complete, the candidate must upload their transcribed test(s) and their steno notes in separate PDF files to the USB storage device provided by the Board. The candidate will return the storage device to the CSR Board for printing and grading of their test.

Rule 7. Time. 

Ninety (90) minutes will be given for the transcription of the testimony Q&amp;A dictation, and ninety (90) minutes will be given for the transcription of the jury charge dictation. The time for the Oklahoma Written Knowledge portion of the examination will be forty-five (45) minutes.

Rule 9. Examination Materials - Custody of Transcription and Notes. 

At the examination, all candidates, including those who do not complete the examination or transcribe their notes, prior to leaving the examination room, shall permit the Board member(s) in attendance to inspect all devices and software to ensure that all computerized records related to the examination are erased by the candidate. All examination materials and file storage devices shall be surrendered to the Board member in attendance before candidates leave the examination room.

Rule 10. Examination Materials - Property of the Board. 

All examination materials, including notes, examination papers, computer diskettes (if any), USB storage devices, and transcripts, shall become the property of the Board.

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Rules of the State Board of Examiners of Certified Shorthand Reporters
Chapter 20, App. 1


Rule 4 - Test Requirements

A. Candidates will be allowed in the testing room an hour early to set up and practice. When testing begins, one minute of warmup will be dictated at 180 jury charge, followed by three five-minute 180 jury charge tests, followed by one minute of warmup at 200 Q&amp;A, followed by three five-minute 200 Q&amp;A tests. Transcription time will begin after all dictation is complete. The examination for enrollment as a certified shorthand reporter shall consist of the following set forth in (1), (2) and (3):

1) Testimony and Proceedings ("Q&amp;A") Skills Examination--

(a) Three Two tests will be administered using a two-voice question-and-answer dictation of testimony at two hundred (200) words per minute for five (5) minutes. Speaker designations such as "Q" and "A" will not be read nor counted as words, but must be appropriately indicated in the transcript.

(b) Ninety (90)Seventy-five (75) minutes per testwill be given for the transcription of the Q&amp;Aquestion-and-answer dictation. The candidate will choose which legtest to transcribe in which order. and must sign in and out in a log provided by the CSR Board to accurately record the transcription time of each leg. The candidate may choose to transcribe and submit one or two of thethree Q&amp;A tests for grading.

2) Jury Charge Materials Skills Examination -- Three Two tests will be administered using a five-minute dictation of jury charge material at one hundred eighty (180) words per minute. Ninety (90)Seventy-five (75) minutes per test will be given for the transcription of the jury charge dictation. The Ccandidate will choose which leg test to transcribe in which order. and must sign in and out in a log provided by the CSR Board to accurately record the transcription time of each leg. The candidate may choose to transcribe and submit one or two 180 jury charge tests for grading.

3) The Oklahoma Written Knowledge Test -- A written knowledge test of not less than twenty-five (25) multiple choice questions relating to the Oklahoma law and court rules, duties of certified shorthand reporters, and general court procedure. This section of the examination will be administered in forty-five (45) minutes. Applicants Candidates will be provided with the study aids from which the test questions will be taken. The written knowledge test may be administered together with or separately from the skills examination. There is no annual limitation on the number of times the written knowledge test may be administered.

B. Candidates will be allowed in the testing room onean hour before the skills examinations beginearly to set up and practice. The jury charge skills examination will begin withWhen testing begins, a one- minute ofjury charge warmup will be dictated at 180 words per minutejury charge, followed by three two five-minute 180 jury charge tests dictated at 180 words per minute, followed by transcription time. followed by a Candidates will be allowed in the testing room twenty-minutes before the Q&amp;A skills examination begins to prepare and practice. The Q&amp;A skills examination will begin with a one- minute of Q&amp;A warmup dictated at 200 words per minuteQ&amp;A, followed by three two five-minute 200 Q&amp;A tests dictated at 200 words per minute, followed by transcription time. Transcription time will begin after all dictation is complete.

C. Candidates may take one or both of the skills examinations at any regularly scheduled examination. A candidate who has successfully completed either of the skills examinations may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

DC. Candidates may take the Oklahoma Written Knowledge Test at any regularly scheduled examination. Proof of minimum proficiency shall not be required for candidates taking only the Oklahoma Written Knowledge Test. A candidate who has successfully completed the Oklahoma Written Knowledge portion of the examination may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

ED. Reciprocity for Skills Examinations.

1) A candidate who provides proof of passing the Registered Professional Reporter (RPR) Examination of the National Court Reporters Association, the Registered Skilled Reporter (RSR) Examination of the National Court Reporters Association, or an equivalent test as authorized by the Supreme Court, is eligible for enrollment without taking the skills examinations described in paragraphs A.(1) and A.(2) of this Rule.

2) A candidate who has successfully passed the jury charge skills examination portion or the testimony/Q&amp;A skills examination portion of the RPR or the RSR within the past twenty-four (24) months may apply to the Board for recognition of the exam. The candidate must prove to the satisfaction of the Board that the speed and passing score for the skills examination are substantially comparable to the speed and passing score required by these Rules. Upon approval by the Board, a candidate may retain the credit for that skills examination for two (2) years from the date passed may pass one leg skill test of the CSR test and one leg skill test of the RSR to be eligible for enrollment as an Oklahoma CSR, provided that the legs tests meet the totality of the skills tests requirements; a 180 jury charge and a 200 Q&amp;A.

3) The candidateapplicant must, prior to certification, pass the Oklahoma Written Knowledge portion of the examination, and meet all other applicable eligibility requirements.

Rule 5. Transcripts - Supplies. 

a. Each candidate shall furnish all supplies and equipment necessary to take and transcribe the test, including a thumb drive to be submitted for ease of printing, with the exception of transcription paper and other items included in (c). Prior to each examination the Board will advise candidatesapplicants of the permitted computer and/or word processing equipment that may be used to transcribe the examination. 

b. A dictionary/electronic spell checker is permitted to be used in transcribing the test but must be furnished by the applicantcandidate.

c. The CSR Board will provide each candidate with an external USB storage device (thumb drive, flash drive, or similar device) the printer, toner, and paper to submit print all tests. For each skills examinationtest, once transcription is complete, the candidate must upload their transcribed test(s) and their steno notes in two separate PDF files to the USB storage device provided by the Boardir thumb drive. The candidate will return submit the storage device thumb drive to the CSR Board for printing and grading of their test.

Rule 7. Time. 

Ninety (90)Seventy-five minutes (75) per test will be given for the transcription of the testimony Q&amp;Aquestion-and-answer dictation, and ninety (90)seventy-five (75) minutes per test will be given for the transcription of the literary jury charge dictation. The time for the Oklahoma Written Knowledge portion of the examination will be forty-five (45) minutes.

Rule 9. Examination Materials - Custody of Transcription and Notes. 

At the examination, each applicant, upon completion of transcription of his/her notes, shall hand over the transcript, the diskette record, if any, the thumb drive, and the notes all candidates, including those who do not complete the examination or transcribe their notes, prior to leaving the examination room, shall permit the Board member(s) in attendance to inspect all devices and software to ensure that all computerized records related to the examination are erased by the candidate. All examination materials and file storage devices shall be surrendered to the Board member in attendance before candidates leaveing the examination room. Each applicant who commences but does not finish the assigned examination shall hand over the notes, the diskette record, if any, the thumb drive, and the portion of the transcript that has been completed before leaving the examination room. An applicant who does not transcribe his/her notes shall hand over the notes and the diskette record, if any, and the thumb drive before leaving the examination room. Computerized records not found on diskette shall be erased by the applicant prior to leaving the examination room.

Rule 10. Examination Materials - Property of the Board. 

All examination materials, including notes, examination papers, computer diskettes (if any), USB storage devices, thumb drives and transcripts, shall become the property of the Board.

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